                                                                                HLED
                                                                                 JAN 0 5 2018



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE STATE OF SOUTH DAKOTA


MARTY NOBLE AND HOLLI                            CIVIL No 5:17-cv-5088
TELFORD


    Plaintiffs
                                                DECLARATION OF HOLLI
        V.                                      TELFORD IN SUPPORT OF
AMERICAN NATIONAL PROPERTY &                    OPPOSITION TOO AND MOTION
CASUALTY INSURANCE CO; BOARD                    TO STRIKE AMERICAN NATIONAL'S
WALK PROPERTY MANAGEMENT CO.,                   "ANPAC's MOTION TO SET ASIDE
KEVIN WEST, LEHI OASIS, LLC;                     ENTRY OF DEFAULT AND SPECIAL
DAVID L PARKER, AUSTIN B. CALES;                 APPEARANCE PETITIONS AS
JARED ELDRIGE in his official                    FRAUDULENTLY BASED
Capacity, LARRY DEITER in his official
official capacity as Director for the
Division of Insurance for the state of South
Dakota, ROBERT J. POULSEN and
POULSEN&SKOUSEN


      Defendants




         COMES NOW, Holli Telford, under penalty of perjury pursuant to 28 USC section
1746(2), to attest and state as follows;

          1.     1 am the Plaintiff in this matter that carried on communications with the South
Dakota Dept. of Insurance both by phone and via email with the Department's purported
Counsel, Clayton Grueb regarding the subject matter of this litigation.
         2. 1 am Opposing as well as seeking to strike the false and deceptive papers filed
by Attorney for American National Property and Casualty Insurance "ANPAC" in this matter,
Gregory John Sperlich, as deceptive and fraudulent.
          3. As set forth in my Motion for entry of Default against ANPAC and filed with this
court ten days after statutory default was committed, I served ANPAC's statutory agent of
service, the Director of the Division of Insurance, Larry Deiter with 2 copies of the summons,


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2 copies of the First Amended Complaint, 2 copies of admissions to service by mail referred
to in my email communications to Clayton Grueb as the "two returns I also sent you", see
Doc. 32-2, PagelD #: 240, an instruction letter and a $10 administrative fee which was
cashed by my bank. The foregoing documents were attached to Attorney Sperlich's affidavit
and memorandum to vacate the default.

         4. In the same affidavit of Attorney Sperlich, Sperlich provides a judicial admission
the we (plaintiffs) properly served the Dept. of Insurance Director via mail and that the Dept
admitted service by mail at: Doc. 32-2, PagelD#: 239, first paragraph. In this same first
paragraph at:        Doc. 32-2, PagelD #: 239,      the Department's counsel GRUEB also
admitted that the letter produced at Doc. 32-1 by the Department of Insurance was a
fraud in the following statement:
               I must apologize for my embarrassing oversight. You are correct and there
               were two copies of the summons and complaint in your mailing. The Division
               has admitted service and is forwarding the summons and complaint to
               American National and Property Casualty Ins. Co. today.

          5.    Attorney GRUEB's emailed admission came after I told him that the service had
been taped, that I had three witnesses to the mailing. Doc. 32-2, PagelD #: 240, and AFTER
I filed still shots of my services on the remainder private party defendants into the court's
record, the latter defendants who falsely claimed that they were served with the original 16
page complaint in this matter as opposed too, the First Amended Complaint comprising of 88
pages.

          6.     Attorney Sperlich falsely indicates that the emails between myself and department
attorney GRUEB were dated between the dates of December 13, 2017 to December 17,
2017. In fact these emails were dated between December 15, 2017 to December 17, 2017 as
shown by Sperlich's Doc. 32-2.
          7.     There has been no changes in the service procedures that we employed upon
the South Dakota Insurance Director re ANPAC on November 28, 2017 when we effected
initial service, and the date Dept. of Insurance employee Eva Briggs admitted service in her
December 18, 2017 letter Issued to correct the fraud committed In GRUEB's December
13, 2017 letter at PagelD #: 237.       Accordingly, service was admitted upon receipt of our
process in November of 2017 by the Director, Larry Deiter.            Furthermore, there is no
statutory provision that allows the Department of Insurance for South Dakota as an agent, to
withhold service of court process for three weeks before effecting service on the principal
defendant.

         8.     Most importantly, Attorney Sperlich has intentionally omitted evidence from his
affidavit that we (plaintiffs) including myself, expressly notified GRUEB once the fraud had
been uncovered, that we were not agreeing to extend service. See exhibit "1" attached.
Accordingly GRUEB had direct knowledge that we intended to apply for default in this matter,
Our motion for default was filed on December 28, 2017, ten days AFTER ANPAC was in
default upon service to her statutory agent, director Larry Deiter.
          9.    Attorney Sperlich's fraud offenses do not stop here. Attorney Sperlich is correct
in asserting that he needs to prove the following elements to avoid the default, to wit: (1)
whether the conduct of the defaulting party was blameworthy or culpable, (2) whether the
defaulting party has a meritorious defense, and (3) whether the other party would be
prejudiced if the default were excused". Stephenson v. El-Batrawi, 524 F.Sd 907 (8th Cir.
2008).
          10.     Attorney Sperlich asserts in his memo supporting ANPAC's motion to vacate
the default that because I knew that the Department had not yet served ANPAC, that this
somehow excuses ANPAC's default. PagelD#:247.             I disagree.   IT IS CLEAR FROM ALL
OF THE EVIDENCE ATTACHED TO SPERLICH's affidavit that Director Deiter and his

employees sought to conspire with ANPAC to deprive me (us) of jurisdiction over our federal
claims, including a RICO claim, in the state of South Dakota.           I even threatened to add
department officials and GRUEB to my RICO complaint because of this conspiracy.                  See
Doc. 32-2, PagelD #: 238.       ANPAC was part of this conspiracy to obstruct justice in this
forum based on service fraud and using the wires to defraud us of our causes of action, the
latter which constitutes RICO property. See Logan v. Zimmerman Brush Co., 455 U.S. 422
(1982)(a Cause of action is a species of property protected by the Fourteenth Amendment's
Due Process Clause. [Footnote 4]); DECK v. ENGINEERED LAMINATES, 349 F.3d 1253
(2003)(RICO claim stated where the defendant sought to extinguish a cause of action against
them through RICO predicate acts.). It is also well established that a defendant is committed
by the acts of it's agents.
          11.    Accordingly, since service was properly effected on November 28, 2017 on
ANPAC's statutory agent, then ANPAC was required to respond by December 19, 2017 and
we (plaintiffs) should not be held at fault for the defendants conspiratorial acts to obstruct
jurisdiction in this forum by service fraud and in employing the wires to effect this fraud.
Moreover, this court should not sustain the defendant's fraud by granting ANPAC's motion to
vacate and thus setting precedent for any insurance company to avoid prosecution by simply
conspiring with Department employees to effectively reject service when all protocols were
followed.

            12.   ANPAC then states at PagelD # 247 that the court is required to consider
prejudice to the Plaintiffs when vacating a default and has surreptiously continued ANPAC's
response date to January 8, 2017. I contend that the attempted scheme to commit service
fraud   by denying what was actually served on the director on November 28, 2017 and
thereby artificially inflate the time to respond; has severely prejudiced me because ANPAC
has not reinstated my auto insurance policy under its original terms and has thereby forced
me to secure other avenues of transportation to protect against 4^^ amendment seizures given
I cannot afford the quadruple insurance rates I would now be forced to pay as a result of
ANPAC's illegal lapse of my auto policy. Hence ANPAC's fraudulently concocted delay is and
was clearly prejudicial.
            13.   In addition, ANPAC's service fraud follows suit with the service fraud committed
by the remainder defendants as previously identified by us in our several petitions for a
contempt hearing against the other defendants. It is undisputed that all defendants in this
matter have lied to this court about what documents they were served in order to avoid
this court's jurisdiction over their persons. Moreover, ANPAC has furthered this fraud in
her motion to vacate the default by fraudulently advancing a service defect under FRCP rule
4(d) which ANPAC's own evidence recorded into this record by wire, shows was false as the
Director of Insurance ADMITTED TO SERVICE ALIBIET THREE WEEKS AFTER THAT

ADMISSION ACTUALLY OCCURRED. The filing of documents agreeing to admission of
service (albiet fraudulently late) defeats and MOOTS the subsequent special appearance
motion made by ANPAC's counsel Sperlich, at least in regards to the personal jurisdiction
issue. See Commercial Gas. Ins. Co. v. Consolidated Stone Co., 278 U.S. 177 (1929)(a
Defendant may make a voluntary appearance by             affirmative conduct before the court);
"Actions of the defendant may amount to a legal submission to the jurisdiction of the court,
whether voluntary or not." Adam v. Saenger, 303 U.S. 59 (1938); Hess v. Pawloski, 274 U.S.
352, 356 (1927)("Challenges to personal jurisdiction or venue may be waived by either
express or implied conduct.); Quenzer v. Quenzer, 653 P.2d 295(Wyo. 1982)(once made, a
general appearance may not be revoked by subsequent actions of filing a Notice of Non-
participation.   citing Weaver Construction Company v. District Court in and for El Paso
County, 4th Judicial District, 190 Colo. 227, 545 R2d 1042(1976)). Hence in regard to filing
an attack re personal jurisdiction over ANPAC, this defense has now been waived by ANPAC.
          14. Furthermore, contrary to ANPAC's contentions, ANPAC does not have merit
orious defenses under a purported "lack of subject matter jurisdiction defense."   Our federal
claims against ANPAC include violations of: the Federal Racketeering Act, "RICO", 18 USC
section 1961, etseq.; the Electronic Funds Transfers Act, 15 U.S. Code § 1693, and the Fair
Credit Reporting Act, 15 U.S. Code § 1691. (See pg. 1 of FAC). ANPAC only addresses one
of these claims, i.e. the Electronic Funds Transfers Act, 15 U.S. Code § 1693 to support a
fraudulent assertion that this court lacks subject matter jurisdiction.
             See PagelD #: 247-248 where ANPAC argues:
       ANPAC Is an insurance company and cannot be In violation of the
       Electronic Funds Transfers Act which only applies to financial institutions
       which are defined as state or national banks, state or federal savings and loan
       associations, mutual savings banks, credit unions, or any person who holds
       an account belonging to a consumer. 12 C.F.R. 205.3(a). ANPAC. . .[is not a
       financial institution] . . . nor does ANPAC have access to a device to permit a
       consumer to initiate electronic funds transfers as required by 12 C.F.R. 205.2(a)
       (1)(defining an access device).

           15.    First and foremost, ANPAC is defined as a financial institution under 31 U.S.

Code § 5312(a)(2)(M) as shown in exhibit "2" attached. Second access to a device to permit
a consumer to initiate electronic funds transfers. . . also includes an agreement constituting
the access device. See 12 CFR§ 205.2. Definitions.
                 For purposes of this part, the following definitions apply:
                 (a) (l)Access device means a card, code, or other means of access
                 to a consumer's account, or any combination thereof, that may be
                 used by the consumer to Initiate electronic fund transfers.
                 (2) An access device becomes an accepted access device when the
                 consumer: (i) Requests and receives, or signs, or uses (or authorizes
                 another to use) the access device to transfer money between accounts
                 or to obtain money, property, or services;

                  In this action, HOLLI admitted that she signed an agreement to allow ANPAC
to transfer specified amounts of money from her bank account to ANPAC's bank account in
return for insurance services. See allegations of the FAC:
            para. 29 of the FAC reads:
       Upon HOLL! agreeing to the premium amounts to be charged for homeowner's
       coverage, automobile coverage and trailer coverage, HOLLI agreed to automatic
       withdrawals from her credit card account of no more than $82.07 per month for all
       of these coverages commencing April 8, 2017. An ANPAC agent sent HOLLI
       notice of the monthly autopay amounts to be withdrawn from her credit card
       account. See exhibit "7" attached.


          16.    Exhibit "7" attached to the FAC IS ANPAC'S ADMISSION OF AN ACEPTED

ACCESS DEVICE.

          17. Moreover, ANPAC's liability under the EFTA in spite of ANPAC's identification
as a financial institution under the banking code (ex. "2" attached) is further established
under this act as. . . any person who holds an account belonging to a consumer. 12
C.F.R. 205.3(a). There is no question that ANPAC held an insurance risk account in HOLLI's
favor. Moreover, other federal court's have identified persons within the meaning of the EFTA
to include fitness companies who enter into contracts with consumers, see exhibit "3"
attached, Wendorf v. Landers, 755 F. Supp. 2d 972 (N.D. III. 2010); Friedman v. 24 Hour
Fitness USA, Inc., 580 F. Supp. 2d 985 (C.D. Gal. 2008) (RICO claim and EFTA claim
sustainable against defendant; the latter as     Plaintiffs' claim arises under section 1693m,
which provides for civil liability as against persons other than financial institutions. 15 U.S.C.
§ 1693m ("Except as otherwise provided, any person who fails to comply..."); to include
internet companies and their telemarketers, see Wike v. Vertrue, Inc., 566 F.3d 590 (6th
Cir. 2009), see material portions attached hereto as exhibit "4"; Terry Johnson v. West
Suburban Bank Tele-Cash Inc. County Bank of Rehoboth Beach, Delaware Tele-Cash Inc.
County Bank of Rehoboth Beach, Delaware, 225 F.3d 366 (3'"' Cir. 2000)(EFTA applies to
companies loaning monies.) . . .and other entities as set out by federal authorities and
which Holli will not attach to stay within the 25 page limitation rule of this court. HENCE
ANPAC HAS DELIBERATELY AND FRAUDULENTLY REPRESENTED TO THIS COURT

THAT THE        EFTA HAS NO APPLICATION TO ANPAC.                   THIS    ONGOING FRAUD

DESERVES TO BE TREATED HARSHLY BY THIS COURT AS AN EFFORT TO DEPRIVE

PLAINTIFF HOLLI OF HER CAUSES OF ACTION AGAINST ANPAC.

                In addition, that ANPAC committed material violations of the EFTA by failing to
obtain HOLLI's written consent authorizing alteration to the terms of             HOLLI's EFTA
agreement with ANPAC is further set out in Plaintiffs FAC;
                   Para. 34 of the FAC reads:



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       ANPAC deceptively and fraudulently unilaterally canceled HOLLI's auto and
       trailer policies without HOLLI's written consent as required under both the
       Electronic Funds Transfers Act access device agreement and the insurance
       policies, and also failed to give HOLLI written notice of these cancellations as
       required under the insurance policies and regulations promulgated generally by
       state insurance commissions. To further coverup their deception, ANPAC
       reduced the premium amounts automatically withdrawn from HOLLI's bank
       account to approximately $73 per month which were the originally agreed
       coupled insurance premiums for both the homeowners insurance and the
       insurance on two motorized vehicles. Hence when this corrected premium was
       collected from HOLLI's bank account In August of 2017, HOLLI was deceived
       into believing that ANPAC had partially corrected the electronic funds transfer
       issues on all insured properties except her trailer. HOLLI would learn
       approximately three weeks later when reporting malicious vandalism on her car
       which occurred on the park's premises, that ANPAC had doubled HOLLI's
       homeowners insurance premium without HOLLI's consent and unilaterally
       lapsed HOLLI's auto and trailer policies; to thereby (1) defeat any
       comprehensive coverage for the vandalism on her 1998 honda civic, (2)
       prevent HOLLI from obtaining like coverage from another insurer due to the
       reported lapse without paying quadruple premiums for the same coverage,(3)
       prevent HOLLI from insuring additional vehicles on her policies, (4) put HOLLI
       at risk of 4'*^ amendment seizure and imprisonment for driving without
       insurance, and (5) cause other collateral injuries associated with the loss of
       insurance.


          18. Finally, in attacking this court's subject matter jurisdiction, ANPAC makes no
mention of Plaintiffs RICO claims against ANPAC.
           Para. 32 of the FAC reads;
      This action sues ANPAC for racketeering conduct re overcharges in HOLLI's
      insurance premiums, for diminishing the value of at issue insured properties
      covered to -0- without HOLLI's written consent and knowledge in order to aid and
      abet an illegal abandonment scheme exercised by the OASIS defendants.

          19.   A number of federal courts have found that inflating insurance premiums over
market rate will justify a RICO claim when the premiums are paid by mail or wire.         See
Dornberger V. Metropolitan Life Ins., 961 F.Supp. 506, 523 (S.D.N.Y.1997) (finding a RICO
injury because plaintiff "was fraudulently induced to pay premiums for services she did not
receive but she bargained for/);   Klay v. Humana, Inc., 382 F.3d 1241, 1259 (11th Cir. 2004)
(physicians had contracted with defendants to receive reimbursement for medical services,
but defendants engaged in a scheme to underpay plaintiffs' reimbursements when compared
to other market rates). Cannon v. Wells Fargo Bank, N.A., No. C-12-1376, 2014 WL 324556,
at *3 (N.D.Cal. Jan. 29, 2014)(Finding RICO violation properly alleged where bank was


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accused of charging insurance premiums that were two times the market rate.) Chattanooga
Foundry & Pipe Works v. City of Atlanta, 203 U.S. 390, 396, 27 S.Ct 65, 51 L.Ed. 241 (1906)
("[The city] was injured in its property, at least... by being led to pay more than the worth of
the pipe."):    Neff v. Provident Life and Accident Insurance, 2;14-cv-06696-MMB (E.D. PA,
2014) (Atty sued for theft of attorney fees provided under contract for the settlement of
insurance claims, using RICO). See ex. "5" attached for RICO conviction for overcharge acts.
         20.    Finally, under the Fair credit reporting act, ANPAC unilaterally lapsed Plaintiffs
auto policies under a false theory that Plaintiffs had not paid her premiums. HOLLl made
numerous demands upon ANPAC to correct this corrupt conduct. Given the accepted access
device agreement HOLLl tendered to ANPAC to pay only the agreed contracted rate of
insurance on her auto policies was HOLLI's timely tender of payment and HOLLl holds no
responsibility for ANPAC manipulating that access agreement for transfer of payments, it is
undisputed that ANPAC fabricated a basis for falsely reporting HOLLI's credit worthiness.
HOLLl has therefore clearly stated FCRA claims against ANPAC thereby making ANPAC's
special appearance motion purporting to attack this court's subject matter jurisdiction, yet
another act of fraud upon this court as well as a RICO instrument recorded by wire with this
court to obstruct the due administration of justice.
          21. ANPAC admits that where setting aside the default would prejudice the plaintiff
by way of permitting fraud and collusion to win the day, the default should not be set aside.
Berthelsen v. Kane, 907 F.2d 617, 621 (6th CIr. 1990). Given the record clearly shows that
ANPAC first attempted to commit service fraud and then later attempted to commit subject
matter fraud by both intentionally misstating the facts and laws with respect to the matters
before this court, this court should not condone that criminal behavior by vacating the default
which Plaintiffs had every right to systematically pursue and even gave ANPAC notice that
they intended on doing so through ANPAC's statutory agent.             Refer back to exhibit "1"
attached.

                I declare that the foregoing ii true and correct und^penalty of perjury pursuant
to 28 use section 1746(2), executed this 4\day of^Janu^ry, 2o/^


                                  CERTIFICATE OF SERVICE
            Service of this declaration is effected through the ECF filing system
